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      Christopher J Langley (SBN 258851)
  1   Shioda Langley & Chang LLP
  2   1063 E. Las Tunas Dr.
      San Gabriel, CA 91776                                          FILED & ENTERED
  3   951-383-3388
      chris@slclawoffice.com
  4                                                                        NOV 29 2022
      Counsel for Plaintiff,
  5
      Linda Steffen                                                   CLERK U.S. BANKRUPTCY COURT
                                                                      Central District of California
  6                                                                   BY bolte      DEPUTY CLERK


  7                              UNITED STATES BANKRUPTCY COURT
                                                CHANGES
                   CENTRAL DISTRICT OF CALIFORNIA          MADE
                                                  – SANTA ANA    BY COURT
                                                              DIVISION
  8
  9
      In re
 10                                                      Case No. 8:18-bk-14425-SC
      WALLACE RAYMOND STEFFEN, JR.,
 11                                                      Chapter 7
                      Debtor.
 12                                                      Adv No. 8:19-ap-01107-SC

 13
 14   LINDA STEFFEN,                                     JUDGMENT

 15                               Plaintiff,

 16           v.

 17   WALLACE RAYMOND STEFFEN, JR.,

 18                               Defendant.

 19
               Pursuant to order Granting Plaintiff Motion for Entry of Final Judgment on the First Claim
 20
      and Dismissal of the Second Claim of Relief Pursuant to Rule 42(a)(1) entered September 29,
 21
      2022, as Docket no 82, judgment is hereby entered in favor of Plaintiff, Linda Steffen and against
 22
      Wallace Raymond Steffen Jr.
 23
               It is FURTHER ORDERED that all amounts owed under the Ohio Probate Judgment case
 24
      number 2015PC00056 consisting of the Journal Entry dated February 15, 2018 in the amount of
 25
      $165,174.52 and the Judgment Entry dated March 20, 2020 in the amount of $212,198.83 for a
 26
      total amount of $377,373.35 are determined to be non-dischargeable under 11 U.S.C § 523(a)(4).
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 29
 30
Case 8:19-ap-01107-SC         Doc 86 Filed 11/29/22 Entered 11/29/22 15:15:07              Desc
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  1          IT IS FURTHER ORDERED that the Judgment shall bear post-judgment interest at the
  2   applicable Ohio interest rate of 4% with interest accruing from original entry dates of February 15,
  3   2018 and March 20, 2020 respectively.
  4                                                ###
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 24 Date: November 29, 2022
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